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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                Case No. 1:12-cr-207
                                    )
v.                                  )                Honorable Janet T. Neff
                                    )
PATRICK DONEY KARSLAKE,             )
                                    )
                  Defendant.        )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on September 18, 2012, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Patrick Doney Karslake entered a plea of guilty to counts 1, 12, and 13 of the

Indictment charging him with conspiracy to manufacture 100 or more marijuana plants (count 1),

in violation of 21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(B), manufacture of 100 or more marijuana

plants (count 12), in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(B)(vii), and maintaining a drug-

involved premises (count 13), in violation of 21 U.S.C. §§ 856(a)(1), (b), in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the
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promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to counts 1, 12, and 13 of the

Indictment be accepted, that the court adjudicate defendant guilty of the charge, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Dated: September 18, 2012                      /s/ Joseph G. Scoville
                                               U.S. Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
United States v. Branch, 537 F.3d 582, 587 (6th Cir.), cert. denied, 129 S. Ct. 752 (2008); Frontier
Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006). General objections do not suffice. Spencer
v. Bouchard, 449 F.3d 721, 724-25 (6th Cir. 2006); see Frontier, 454 F.3d at 596-97; McClanahan
v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir. 2006).
